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16                                  UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
18
      U.S. EQUAL EMPLOYMENT                          Case No.: 3:23-cv-04984-JSC
19    OPPORTUNITY COMMISSION,
20
                     Plaintiff,                      [PROPOSED] FIRST STIPULATED
21                                                   ORDER RE: DISCOVERY OF
             vs.                                     ELECTRONICALLY STORED
22                                                   INFORMATION FOR STANDARD
                                                     LITIGATION
      TESLA, INC.
23
                     Defendant.
24

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[PROPOSED] 1st SIPULATED ORDER
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 1   I.       PURPOSE
 2            This Order will govern the production and formatting of electronically stored information
 3   (ESI) in this case as a supplement to the Federal Rules of Civil Procedure, this Court’s Guidelines
 4   for the Discovery of Electronically Stored Information, and any other applicable orders and rules.
 5   II.      COOPERATION
 6            The parties are aware of the importance the Court places on cooperation and commit to
 7   cooperate in good faith throughout the matter consistent with this Court’s Guidelines for the
 8   Discovery of ESI.
 9   III.     LIAISON
10            The parties have identified liaisons to each other who are and will be knowledgeable about
11   and responsible for discussing their respective ESI. Each e-discovery liaison will be or will have
12   access to those who are knowledgeable about the technical aspects of e-discovery, including the
13   location, nature, accessibility, format, collection, search methodologies, and production of ESI in
14   this matter. The parties will rely on the liaisons, as needed, to confer about ESI and to help resolve
15   disputes without court intervention.
16   IV.      PRESERVATION
17            The parties have discussed their preservation obligations and needs and agree that
18   preservation of potentially relevant ESI will be reasonable and proportionate. To reduce the costs
19   and burdens of preservation, the parties agree to supplement this Order with an ESI Protocol that
20   will address the preservation of ESI, as stipulated by the parties in their Joint Case Management
21   Conference Statement. See ECF 50, p. 8. Nothing in this stipulation is intended to abrogate or alter
22   the parties’ obligations with respect to preserving ESI.
23   V.       SEARCH
24            The parties agree that in responding to an initial Fed. R. Civ. P. 34 request, or earlier if
25   appropriate, they will meet and confer as needed about methods to search ESI in order to identify
26   ESI that is subject to production in discovery and filter out ESI that is not subject to discovery.
27   VI.      PRODUCTION FORMATS
28            The parties agree to the format for production as described herein as well as Exhibit A.

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 1           A.      Paper Documents
 2           Hard copy documents shall be scanned to single-page TIFF Group IV format (300 DPI
 3   resolution) with corresponding searchable OCR text and be logically unitized. The file name for the
 4   TIFF image shall be the Bates/PageID Number. Scanned documents shall also be converted into
 5   searchable text using optical character recognition (OCR), extracted, and saved as a text file named
 6   with the Bates/PageID Number. The OCR shall include the Bates/PageID number for each page. The
 7   load file shall include a field for the OCR/Text file path.
 8           B.      Email and User-Created Files
 9           The parties will produce documents in accordance with the specifications identified in this
10   section. ESI will generally be produced in single-page TIFF format (300 DPI resolution) with
11   corresponding document-level extracted text and a delimited DAT file containing the metadata fields
12   outlined in Exhibit A.
13           1.      All spreadsheet and presentation files (e.g., Excel, PowerPoint) shall be produced in
14   native format with an associated placeholder image, and a native file path contained in the DAT file
15   to the native file.
16           2.      All hidden text (e.g., track changes, hidden columns, mark-ups, notes) shall be
17   expanded and rendered in the image file.
18           3.      All embedded objects (Word documents, Excel spreadsheets, .wav files, etc.) that are
19   found within a file—excepting automatically generated signature graphics and logos to the extent
20   they can be isolated and excluded—shall be extracted and produced. For purposes of production, the
21   embedded files shall be treated as attachments to the original file, with the parent/child relationship
22   preserved.
23           4.      The parties agree to take reasonable steps based on industry standards to open
24   password-protected or encrypted files, including using commercially accessible software as well as
25   requesting passwords from those individuals which the Parties represent. If there are potentially
26   responsive encrypted or password protected documents, which the producing party has been unable
27   to, after reasonable efforts, to locate the password or decrypt, the parties shall meet and confer. If a
28   party believes that removing password protection is unduly burdensome, the parties shall meet and

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 1   confer.
 2             5.     The producing party shall disclose any substantive gaps, errors, or exceptions in the
 3   collected or processed ESI.
 4             C.     Family Relationships and Modern Attachments
 5             Parent-child relationships (association between an attachment and its parent document) shall
 6   be preserved. The attachment(s) shall be produced adjacent to the parent document, in terms of Bates
 7   numbers, with the first attachment being named with the next sequential number after the parent, and
 8   any additional attachment(s) sequentially numbered after that first attachment. The Parties agree that
 9   if any part of a Document or its attachments is responsive, the entire Document and attachments will
10   be produced as responsive, except any attachments that must be withheld or redacted and logged
11   based on privilege. Withheld documents should be replaced with slip sheets.
12             The producing party shall use best efforts to produce hyperlinked documents and “Modern
13   attachments” contained within emails or other Unstructured Data in a reasonably usable form that
14   will identify the connection between the “parent” message (the originating message containing the
15   modern attachment) and the modern attachment, to the extent the producing party’s internal systems
16   reasonably allow for automated collection and identification of such Modern attachments. The
17   producing party shall meet and confer with the requesting party to discuss proposed formats of
18   production for modern attachments. To the extent that a unique modern attachments points to a
19   drive, folder, or other ESI that is not an individual file, parties shall meet and confer to discuss
20   production.
21             D.     Short Messages
22             Short Messages, including text, Microsoft Teams, WhatsApp, and Slack messages, if any,
23   shall be produced in a searchable format that preserves the presentational features of the original
24   messages, such as emojis, images, video files, animations, and the like. Short Messages must not be
25   converted to non-unitized file formats such as PDF or TIFF. In general, Short Messages should be
26   produced in the same format as that in which they were exported for purposes of collection, search,
27   or review.
28

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 1             E.     Custodial Mobile Device Data
 2             Prior to any production of responsive data from mobile devices, the producing party shall
 3   discuss the potential export formats and the method and tool used for extraction.
 4             F.     Redacted Documents
 5             Documents that contain redactions, including any associated family members, will be
 6   produced in single-page TIFF format (300 DPI resolution) with corresponding document-level
 7   extracted text and a delimited DAT file containing the metadata fields outlined in Exhibit A to the
 8   extent that such metadata fields are not part of the redaction. Documents produced with redactions
 9   shall identify in some manner (such as through highlighting in black or through the use of redaction
10   boxes) the location and extent of redacted information. To the extent a party deems production of
11   redacted TIFF images of Excel spreadsheets significantly degrades the usability of the document, the
12   parties agree to meet and confer regarding alternate production methodologies of the redacted
13   information.
14             G.     Structured Database Systems
15             The default form for production of database information is “fielded tables” where each row
16   represents a database record and each column represents a single data field, such as a Microsoft
17   Excel spreadsheet or delimited text file. The producing party will provide a description of the fields
18   contained in their structured databases, including any codes used. Upon review of the report, the
19   requesting party may make reasonable requests for additional information to explain the database
20   schema, codes, abbreviations, and different report formats or to request specific data from identified
21   fields.
22   VII.      PHASING
23             Following the Initial Disclosures, the parties agree to supplement Order with an ESI Protocol
24   that will address any phasing of ESI production, as stipulated by the parties in their Joint Case
25   Management Conference Statement. See ECF 50, p. 8.
26   VIII. DOCUMENTS PROTECTED FROM DISCOVERY
27             The parties intend to address inadvertent disclosures in a separate stipulation.
28

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 1   IX.      MODIFICATION
 2            The parties agree to address any remaining issues concerning ESI including preservation,
 3   search & collection, processing, and filtering and review in a supplemental ESI Protocol, as
 4   stipulated by the parties in their Joint Case Management Conference Statement. See ECF 50, p. 8.
 5   This Stipulated Order may also be modified by another Stipulated Order of the parties or by the
 6   Court.
 7            IT IS SO STIPULATED, through Counsel of Record.
 8   Dated: July 11, 2024
 9    ROBERTA STEELE                                                KARLA GILBRIDE
      Regional Attorney                                             General Counsel
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 1          IT IS SO ORDERED that the forgoing Stipulation is approved.
 2

 3

 4    Dated:
                                                  HON. JACQUELIN S. CORLEY
 5                                              UNITED STATES DISTRICT JUDGE
 6

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 9                                 LOCAL RULE 5-1(i)(3) ATTESTATION
10          I, James H. Baker, am the ECF User whose ID and password are being used to file the Joint
     Case Management Conference Statement. In compliance with Local Rule 5-1(i)(3), I hereby attest
11   that Thomas E. Hill concurs in this filing.
12

13          Dated: July 11, 2024                       /s/ James H. Baker
                                                James H. Baker, Senior Trial Attorney
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                FORM OF PRODUCTION / LOAD FILE SPECIFICATIONS

A.      Form of Production

        The parties agree to make all reasonable efforts to produce documents in accordance with

the specifications identified in this document. As set forth with greater particularity below, some

ESI will be produced in native format, while PDF-format and hardcopy documents will be

produced in single-page TIFF format (300 DPI resolution) with a delimited DAT file containing

the metadata fields outlined in Attachment 1, accompanied by an Opticon (OPT) cross-reference

file and corresponding document-level extracted text. Before making a production that does not

conform to these specifications, the producing party shall meet and confer with the receiving

party to explain why the production will not conform and explore alternative formats. The

Commission uses the Relativity suite of e-Discovery software.

        1.      Email and User-Created Files
        The parties agree to make all reasonable efforts to produce documents in accordance with

the specifications identified in this section.

        Email will be produced in single-page TIFF format (300 DPI resolution) with a delimited

DAT file containing the metadata fields outlined in Attachment 1, accompanied by an Opticon
(OPT) cross-reference file and corresponding document-level extracted text.

        All spreadsheet and presentation files (e.g., Excel, PowerPoint) shall be produced in

native format with an associated placeholder image. All hidden text (e.g., track changes, hidden

columns, mark-ups, notes) shall be expanded and rendered in the image file. All non-graphic

embedded objects (Word documents, Excel spreadsheets, .wav files, etc.) that are found within a

file shall be extracted and produced. For purposes of production, the embedded files shall be

treated as attachments to the original file, with the parent/child relationship preserved. Any data

(whether individual files or digital containers) that is protected by a password, encryption key,

digital rights management, or other encryption scheme, shall be decrypted prior to processing for

production, to the extent practicable.



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       2.      Social Media
       Prior to any production of responsive data from social media (e.g., Twitter, Facebook,

LinkedIn, internet-based email accounts, etc.), the producing party shall meet and confer with the

receiving party regarding the potential export formats.

       3.      Redacted Documents
       Documents that contain redactions, including any associated family members, will be

produced in single-page TIFF format (300 DPI resolution) with corresponding document-level

extracted text and a delimited DAT file containing the metadata fields outlined in Attachment 1

to the extent that such metadata fields are not part of the redaction. To the extent a party deems

production of redacted TIFF images of Excel spreadsheets significantly degrades the usability of

the document, the parties agree to meet and confer regarding alternate production methodologies

of the redacted information.

       4.      Structured Data: Database Systems
       Information from structured database systems shall be produced through existing report

formats available in the associated applications, including but not limited to Microsoft Excel

spreadsheet or delimited text format, if available. If a receiving party believes that the format of

a produced report is inadequate or does not fully respond to a discovery request, the parties agree

to meet and confer regarding other methods to produce responsive information from the

Database Systems.

       5.      Paper Documents
       Documents kept in paper format in the usual course of business shall be produced in

scanned and logically unitized format. Scanning shall be to single-page, TIFF Group IV, 300

dots per inch (dpi). Each page shall include the Bates/PageID number at the bottom of the page.

The file name for the TIFF image shall be the Bates/PageID Number. Scanned documents shall

also be converted into searchable text using optical character recognition (OCR), extracted, and

saved as a text file named with the Bates/PageID Number. The OCR shall include the

Bates/PageID number for each page. The load file (see A.8 below) shall include a field for the

OCR/Text file path.
                                                 2
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       6.      PDF Files
       Documents kept in PDF format in the usual course of business shall be produced in

logically unitized format. Such documents shall not be combined, merged, or otherwise joined if

they are not so organized in the usual course of business. Files usually maintained in a different
file type, but converted to PDF format and produced, will not be accepted.

       7.      “Logically Unitized” Defined
       “Logically unitized” means that all pages that belong together as a document, and only

those pages, are produced as one document, with relationships such as parent and child

attachments maintained. Documents that are bulk-scanned to non-unitized files will not be

accepted.

       8.      Load File
       Each production shall be accompanied by a delimited-load file in .DAT format that

establishes the proper document breaks and maintains the parent/child relationships (BegAttach

and EndAttach). The load file shall use the delimiters identified below and include all applicable

data for the fields identified in Attachment 1.

                       Value          Character ASCII Number

                       Column             ¶           020

                       Quote              þ           254

                       Newline            ®           174

                       Multi-Value         ;          059

                       Nested Value        \          092

       The load file should be accompanied by an Opticon (OPT) cross-reference file that

references one Bates number per line.

B.     Transmission and Delivery

       1.      Volumes and Folders
       Provide separate folders for images, text, and load files. Provide a Volume Number

identifier for each production that is unique and runs in succession from the last volume
                                                  3
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produced (e.g., VOL001, VOL002, VOL003).

       2.      Acceptable Means of Delivery
       Where possible, productions should be delivered by electronic means. Productions may

be delivered by file-sharing services such as Drop Box or Hightail by sending the download to

the attorneys identified in the parties’ electronic service lists. See ECF 50, p. 17. Productions

greater than 40 MB or split into multiple emails whose collective size is greater than 40 MB, will

not be accepted by email.

       Where production by electronic means is not feasible, productions may be saved to

external media (CD/DVD, USB drive, external HDD drive) and delivered by UPS or FedEx to

the following address:

               US EEOC
               OGC\LMS\LitSupport
               Attn: Amanda Beckerink or Richard Van Nelson
               131 M Street, NE
               5th Floor
               Washington, D.C. 20507

       Delivery by U.S. Postal Service is not sufficient, because USPS deliveries to the EEOC

are subjected to X-RAY security scanning, which damages data stored on external media.

       3.      Encryption
       Productions may be encrypted using WinZip or PKWare. The Commission will not

accept productions that require the installation of other applications to read the data or remove

encryption.




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                                    Attachment 1

                              METADATA FIELDS

Field name       Field Description                           Field Type       Field Value
                 Custodian(s)/Source(s) - format: Last,
CUSTODIAN                                                    Text                           160
                 First or ABC Dept.
AUTHOR           Creator of the document                     Text                           500
                 Start Bates (including prefix) - No
BEGDOC#                                                      Text                           60
                 spaces
                 End Bates (including prefix) - No
ENDDOC#                                                      Text                           60
                 spaces
PGCOUNT          Page Count                                  Number                         10
                 Contains the Group Identifier for the
GROUPID          family, in order to group e-mails with      Text                           60
                 their attachments

                 Start Bates number of parent document
BEGATTACH                                                    Text                           60
                 in attachment range

                 End Bates number of last attachment in
ENDATTACH                                                    Text                           60
                 attachment range
                 Identifies whether the document
REDACTIONS                                                   Boolean                        10
                 contains redactions.
RECORD TYPE      Use the following choices: Image,
                 Loose E-mail, E-mail, E-Doc,
                 Attachment, Hard Copy or Other. If          Text                           60
                 using Other, please specify what type
                 after Other
FROM             Author - format: Last name, First name      Text                           160
                                                             Text –
                 Recipient- format: Last name, First
TO                                                           semicolon               Unlimited
                 name
                                                             delimited
                                                             Text –
                 Carbon Copy Recipients - format: Last
CC                                                           semicolon               Unlimited
                 name, First name
                                                             delimited
                                                             Text –
                 Blind Carbon Copy Recipients - format:
BCC                                                          semicolon               Unlimited
                 Last name, First name
                                                             delimited
SUBJECT          Subject/Document Title                      Text             Unlimited
                 E-mail system ID used to track replies,
CONVINDEX                                                    Text             Unlimited
                 forwards, etc.
                 Relative file path of the text file
                 associated with either the extracted text   Text             Unlimited
                 or the OCR
TEXT FILEPATH
                 Date Sent (Use Time Zone of                                  MM/DD/YYYY
DATE TIME SENT                                               Date and Time
                 Collection Locality)                                         HH:MM:SS



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                  Date Created (Use Time Zone of                               MM/DD/YYYY
DATE TIME CRTD                                                Date and Time
                  Collection Locality)                                         HH:MM:SS

                  Date Last Modified (Use Time Zone of                         MM/DD/YYYY
DATE TIME MOD                                                 Date and Time
                  Collection Locality)                                         HH:MM:SS

                  Date Accessed (Use Time Zone of                              MM/DD/YYYY
DATE TIME ACCD                                                Date and Time
                  Collection Locality)                                         HH:MM:SS

FILE SIZE         Native File Size in bytes                   Number           10
                  File name - name of file as it appeared
FILE NAME                                                     Text             Unlimited
                  in its original location
                  Extension for the file (e.g. .doc, .pdf,
FILE EXTENSION                                                Text             10
                  .wpd)
                  Data’s original source full folder path
FILEPATH                                                      Text             Unlimited
                  Relative file path location to the native
NATIVE LINK                                                   Text             Unlimited
                  file
FOLDER ID         Hard Copy container information (e.g.,
                                                              Text             Unlimited
                  folder or binder name)
                  MD5 Hash value (used for
                  deduplication or other processing) (e-
MD5 HASH                                                      Text             Unlimited
                  mail hash values must be run with the e-
                  mail and all of its attachments)
                  Documents designated as Confidential,
CONFIDENTIALITY   as outlined in the parties’ Stipulated      Text             Unlimited
                  Protective Order.
                  Begin Bates numbers of document as
PRIOR BATES BEG   previously produced in related Vaughn       Text             Unlimited
                  and CRD cases.




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